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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


    ASHTON ORR, et al.,

                         Plaintiffs,                    Case No. 1:25-cv-10313-JEK

                  v.

    DONALD J. TRUMP, in his official
    capacity as President of the United States,
    et al.,

                         Defendants.


                               DECLARATION OF SAWYER SOE
I, Sawyer Soe, hereby declare and state as follows:
          1.     My name is Sawyer Soe1. I am a plaintiff in the above-captioned action and

submit this declaration in support of Plaintiffs’ Motion for a Preliminary Injunction.

          2.     I am over the age of 18, of sound mind, and in all respects competent to testify. I

have personal knowledge of the information contained in this Declaration and would testify

competently to those facts if called to do so.

          3.     I am United States Citizen and resident of Salem, Massachusetts. I am thirty-five

years old. I grew up in New Hampshire, so New England has always been home to me. I use

“they” and “them” pronouns, but any pronouns are fine with me.

          4.     I work for a company that is a leader in video game development. I design games

and lead a creative team. I love what I do for work, as it allows me to express myself creatively



1
  Sawyer Soe is a pseudonym. I am proceeding under pseudonym to protect my right to
privacy and to be free from discrimination, harassment, and violence, as well as retaliation
for seeking to protect my rights.
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and build experiences that engage people of all ages. My company has a global presence, and

my colleagues are based in the United States and Canada, as well as in South America and

Europe.

       5.      I am a nonbinary person. My sex assigned at birth was female, but I do not

identify with a binary sex, and the term “nonbinary” accurately captures my gender as it

encompasses both masculine and feminine expression.

       6.      I have lived as a nonbinary person in all aspects of my life since 2019. I have

always known who I am to some degree when it comes to my gender identity, as I am a naturally

androgynous person, and that is typically how others perceive me as well. As I have grown

older, there has been more terminology and better shared social consciousness about language. I

am fully myself at work, and amongst friends and family within my generation. But I do not

share this aspect of my identity unless asked directly in order to protect my privacy and safety.

       7.      During my time in this industry, there has been targeted harassment of transgender

and nonbinary game developers, including through doxxing and threats of physical violence. I

am grateful that I am able to seek relief through this lawsuit through proceeding by pseudonym –

otherwise, I would not be able to participate due to fear for my physical safety, my online safety,

and my ability to continue working as a game developer.

       8.      I was able to obtain a Massachusetts driver’s license with an X sex designation in

July of 2023, and this has allowed me to navigate travel and daily interactions safely and

comfortably. Having an “X” sex designation on my identity documents allows me to escape the

arbitrary enforcement of a gender projected on me solely based on my sex assigned at birth. The

“X” designation provides me with freedom and privacy that allows me to exist in a way that is

free of a label I did not choose for myself and is inconsistent with how I live.



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       9.      I have not been able to update my United States passport in a similar manner.

This has not been a huge problem for during the last few years, as my previous passport with a

female sex designation had expired in August of 2019, right before the COVID-19 pandemic.

When the pandemic began in 2020, I did not feel safe traveling by plane for fear of contracting

COVID and other illnesses.

       10.     Recently, I am beginning to travel more. My team is planning an on-site

collaboration with our colleagues in Canada, and I will be required to travel internationally

within the next three months, and potentially several more times in the coming year.

       11.     I would feel safer if I had an “X” sex designation on my passport because it would

be more consistent with my identity, it would protect my privacy as it would prevent disclosure

of my sex assigned at birth to strangers, and it would match other identity documents that I

currently carry. Due to the new passport policy issued by the federal government, I will no

longer be able to obtain a sex designation on my passport that accurately reflects who I am and

how others perceive me.

       12.     I am disappointed that the federal government seeks to invalidate my existence

and the existence of many nonbinary individuals like me.

I declare under penalty of perjury that the foregoing is true and correct.




            February 17
Executed on ______________, 2025                              _____________________________
                                                              Sawyer Soe




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